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   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-0024-GEB
12                                Plaintiff,            STIPULATION AND (PROPOSED) ORDER
                                                        TO CONTINUE STATUS CONFERENCE AS
13                         v.                           TO DEFENDANTS ROBINS, BURKS, AND
                                                        MARKANSON
14   DONTE ROBINS,
     ISAIAH BURKS,                                      Date:    August 16, 2019
15   RAYSHAWN WRAY, and                                 Time:    9:00 a.m.
     JOSHUA MARKANSON,                                  Judge:   Hon. Garland E. Burrell, Jr.
16
                                 Defendants.
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19          The United States of America, through its undersigned counsel, and defendants Donte Robins,

20 Isaiah Burks, Rayshawn Wray, and Joshua Markanson, through their counsel of record, stipulate that the
21 status conference currently set for August 16, 2019, be continued to October 4, 2019, at 9:00 a.m.

22          In March 2018, Mr. Robins and Mr. Markanson were arraigned on the nine-count Superseding

23 Indictment. (ECF Nos. 15, 21, 22.) Mr. Burks and Mr. Wray were arraigned separately, in May and

24 November 2018, respectively. (ECF Nos. 37, 64.) The government has produced discovery to defense

25 counsel that includes 139 pages of written materials and roughly 130 photos, as well as fifteen compact

26 disks containing dozens of audio and video files.
27          In late June 2019, the government made available for physical inspection all of the firearms and

28 magazines purchased as part of this investigation. The parties are now scheduling a time in the coming

      STIPULATION AND (PROPOSED) ORDER                  1
30    TO CONTINUE STATUS CONFERENCE
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 1 weeks for defense counsel to inspect the remaining physical evidence collected in this case.

 2          Based on the foregoing, defendants Robins, Burks, Wray, and Markanson (through counsel)

 3 stipulate that the status conference set for August 16, 2019, be continued to October 4, 2019, at 9:00 a.m.

 4 The parties further agree that time under the Speedy Trial Act should be excluded from the date the

 5 parties stipulated, up to and including October 4, 2019, under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv)

 6 [reasonable time to prepare], and General Order 479 [Local Code T4], based on continuity of counsel and

 7 defense preparation.

 8          The parties agree that the failure to grant a continuance in this case would deny defense counsel

 9 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.
10 The parties also agree that the ends of justice served by the Court granting the requested continuance

11 outweigh the best interests of the public and the defendants in a speedy trial.

12                                                       Respectfully submitted,

13 Dated: August 15, 2019                                _/s/ Timothy H. Delgado___________
                                                         TIMOTHY H. DELGADO
14
                                                         Assistant United States Attorney
15                                                       Attorney for Plaintiff United States

16 Dated: August 15, 2019                                _/s/ THD for Linda C. Allison_______
17                                                       LINDA C. ALLISON
                                                         Assistant Federal Defender
18                                                       Attorney for Defendant Donte Robins

19 Dated: August 15, 2019                                _/s/ THD for Philip Cozens_________
20                                                       PHILIP COZENS
                                                         Attorney for Defendant Isaiah Burks
21

22 Dated: August 15, 2019                                _/s/ THD for Todd D. Leras___________
                                                         TODD D. LERAS
23                                                       Attorney for Defendant Rayshawn Wray

24
     Dated: August 15, 2019                              _/s/ THD for Etan Zaitsu___________
25                                                       ETAN ZAITSU
                                                         Attorney for Defendant Joshua Markanson
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      STIPULATION AND (PROPOSED) ORDER                   2
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 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court also finds that the ends of

 6 justice served by granting the requested continuance outweigh the best interests of the public and the

 7 defendant in a speedy trial.

 8          The Court orders that the time from the date the parties stipulated, up to and including October 4,

 9 2019, shall be excluded from computation of time within which the trial in this case must begin under
10 the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General

11 Order 479 [Local Code T4]. It is further ordered that the August 16, 2019 status conference be

12 continued until October 4, 2019, at 9:00 a.m.

13    Dated: August 15, 2019
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      STIPULATION AND (PROPOSED) ORDER                     3
30    TO CONTINUE STATUS CONFERENCE
